          Case 2:19-cv-01597-APG-NJK Document 22 Filed 05/15/20 Page 1 of 1



 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 RICHARD E. OBRINGER,                                    Case No.: 2:19-cv-01597-APG-NJK

 4          Plaintiff                                    Order for Stipulations of Dismissal or
                                                                    Status Report
 5 v.

 6 NEW PENN FINANCIAL, LLC, et al.,

 7          Defendants

 8         On February 6, 2020, the parties advised the court that plaintiff Richard Obringer had

 9 reached a settlement with defendant NewRez, LLC and stated they anticipated filing a stipulation

10 of dismissal within 60 days. ECF No. 17. On February 12, the parties advised that Obringer had

11 also reached a settlement with defendant Equifax Information Services LLC, and again stated

12 that they anticipated filing a stipulation of dismissal within 60 days. No stipulation of dismissal

13 has been filed with respect to either defendant.

14         I THEREFORE ORDER that by May 29, 2020, the parties shall file either stipulations of

15 dismissal or a status report regarding settlement.

16         DATED this 15th day of May, 2020.

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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